 Case: 4:22-cv-01040-HEA Doc. #: 56 Filed: 12/01/22 Page: 1 of 2 PageID #: 937

                                United States Court of Appeals
                                       For The Eighth Circuit
                                       Thomas F. Eagleton U.S. Courthouse
                                       111 South 10th Street, Room 24.329
                                      St. Louis, Missouri 63102
                                                                                 VOICE (314) 244-2400
Michael E. Gans
                                                                                   FAX (314) 244-2780
 Clerk of Court
                                                                                 www.ca8.uscourts.gov



                                         MEMORANDUM


TO:               Mr. Gregory J. Linhares

FROM:             Michael E. Gans, Clerk of Court

DATE:             December 01, 2022

RE:               22-3179 State of Nebraska, et al v. Joseph Biden, Jr., et al

                  District Court/Agency Case Number(s): 4:22-cv-01040-HEA


_____________________________________________________________________________

       Enclosed is a letter received from the United States Supreme Court stating that an order
has been filed granting certiorari in the above case.



AMT




   Appellate Case: 22-3179           Page: 1          Date Filed: 12/01/2022 Entry ID: 5222996
 Case: 4:22-cv-01040-HEA Doc. #: 56 Filed: 12/01/22 Page: 2 of 2 PageID #: 938



(ORDER LIST:   598 U.S.)


                             THURSDAY, DECEMBER 1, 2022


                                 CERTIORARI GRANTED


22-506      BIDEN, PRESIDENT OF U.S., ET AL. V. NEBRASKA, ET AL.
(22A444)

                  Consideration of the application to vacate injunction

            presented to Justice Kavanaugh and by him referred to the Court

            is deferred pending oral argument.        The application to vacate

            injunction is also treated as a petition for a writ of certiorari

            before judgment, and the petition is granted on the questions

            presented in the application.

                  The Clerk is directed to establish a briefing schedule that

            will allow the case to be argued in the February 2023 argument

            session.




   Appellate Case: 22-3179    Page: 1    Date Filed: 12/01/2022 Entry ID: 5222996
